          Case 6:16-cv-00173-RP Document 613 Filed 04/12/19 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


JANE DOE 1, et al.,                             §
                                 Plaintiffs,    §
                                                §             Civil Action No. 6:16-CV-00173-RP
v.                                              §
                                                §                                 Consolidated with
                                                §                                6:17-CV-228-RP
                                                §                                6:17-CV-236-RP
BAYLOR UNIVERSITY,                              §
                                 Defendant.     §
                                                §


     DEFENDANT’S ADVISORY TO THE COURT REGARDING DOCKET NO. 612

TO THE HONORABLE JUDGE PITMAN:

        Defendant Baylor University advises the Court that Baylor has completed the review,

logging, and production of the additional documents referenced as still being reviewed in Pepper

Hamilton’s LLP’s Motion for Reconsideration and/or Clarification of Part (1)(b) of the Court’s

Order Dated March 28, 2019. See Dkt. 612 at 3; Dkt. 612-6 at ¶ 6. Baylor produced the additional

92 documents to Plaintiffs’ counsel today. Baylor’s production and logging of materials created by

Pepper Hamilton during the course of its investigation is now complete. To date, Baylor has

produced 3,859 pages of materials created or maintained by Pepper Hamilton, as well as 2,899,067

pages of Baylor documents reviewed by Pepper Hamilton during the course of its investigation. It

has also produced 357,151 pages of documents responsive to Plaintiffs’ other requests for

production. Baylor has so far logged 66,859 pages of electronic documents and 159 hardcopy

working files.
Case 6:16-cv-00173-RP Document 613 Filed 04/12/19 Page 2 of 3




                               Respectfully submitted,

                               THOMPSON & HORTON LLP


                               By:    /s/ Lisa A. Brown

                                     State Bar of Texas No. 03151470
                                     3200 Southwest Freeway, Suite 2000
                                     Houston, Texas 77027-7554
                                     (713) 554-6741 (telephone)
                                     (713) 583-7934 (fax)
                                     lbrown@thompsonhorton.com

                                     Holly G. McIntush
                                     State Bar of Texas No. 24065721
                                     400 West 15th Street, Suite 1430
                                     Austin, Texas 78701
                                     (512) 615-2351 (telephone)
                                     (512) 682-8860
                                     hmcintush@thompsonhorton.com

                                     WEISBART SPRINGER HAYES LLP

                                     Julie A. Springer
                                     State Bar of Texas No. 18966770
                                     jspringer@wshllp.com
                                     Sara E. Janes
                                     State Bar of Texas No. 24056551
                                     sjanes@wshllp.com

                                     212 Lavaca Street, Suite 200
                                     Austin, Texas 78701
                                     (512 )652-5780
                                     (512) 682-2074 fax

                               COUNSEL FOR DEFENDANT
                               BAYLOR UNIVERSITY
             Case 6:16-cv-00173-RP Document 613 Filed 04/12/19 Page 3 of 3



                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing has been served upon counsel

of record on this 12th day of April 2019 via the Court’s ECF/CMF electronic filing and service

system as follows:

          Mr. Chad W. Dunn (Attorney-in-Charge)
          BRAZIL & DUNN, L.L.P.
          3303 Northland Drive, Suite 205
          Austin, Texas 78731
          chad@brazilanddunn.com
          (Counsel for Plaintiffs)

          Mr. Jim Dunnam
          DUNNAM & DUNNAM, L.L.P.
          4125 West Waco Drive
          Waco, Texas 76710-7110
          jimdunnam@dunnamlaw.com
          (Counsel for Plaintiffs)

                                                        /s/ Lisa A. Brown
                                                     Lisa A. Brown



4815-9826-5486
